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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

MICHAEL GREEN
2045 Morningside Avenue :
Atlantic City, NJ 08401 : CIVIL ACTION
Plaintiff, : No.
V. :

VENTNOR BEAUTY SUPPLY, INC. :
400 West Decatur Avenue : JURY TRIAL DEMANDED
Pleasantville, NJ 08232 :
And
ATLANTIC CITY BEAUTY
SUPPLY, INC.
400 West Decatur Avenue
Pleasantville, NJ 08232
and
ADAM PRUSSEL
400 West Decatur Avenue
Pleasantville, NJ 08232
and
GENE MASCO
400 West Decatur Avenue
Pleasantville, NJ 08232

Defendants.

 

CIVIL ACTION COMPLAINT
Plaintiff, by and through his undersigned counsel, hereby avers as follows:
I. INTRODUCTION
1. This action has been initiated by Michael Green (hereinafter referred to as
“Plaintiff,” unless indicated otherwise) for violations of the Fair Labor Standards Act ("FLSA" -
29 U.S.C. § 201, et. seg.), the NJ Wage and Hour Law (“NJ WHL” - N.J.S.A. §§ 34:11-56a, et.
seq.), the New Jersey Law against Discrimination (“NJ LAD” - N.J.S.A. §§ 10:5-1 et. seq.), and

the Conscientious Employee Protect Act (“CEPA” - N.J.S.A. 34-19-1 et. seq.). Plaintiff asserts
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herein that he was not paid overtime compensation in accordance with state and federal laws and
that he was terminated retaliatorily in violation of numerous state and federal laws. As a direct
consequence of Defendants’ actions, Plaintiff seeks damages as set forth herein.

Il. JURISDICTION AND VENUE

2. This Court, in accordance with 28 U.S.C. 1331, has jurisdiction over Plaintiffs
claims because they arise under a federal law - the FLSA. There is supplemental jurisdiction over
Plaintiff's state-law claims herein because they arise out of the same common nucleus of
operative facts as Plaintiff's federal claim(s) set forth in this lawsuit.

3. This Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Supreme Court in International Shoe
Co. v. Washington, 326 U.S. 310 (1945) and its progeny.

4. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district.

IH. PARTIES

5. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

6. Plaintiff is an adult individual, with an address as set forth in the caption.

7. Defendants Ventnor Beauty Supply, Inc. (“Defendant VBS”) and Atlantic City
Beauty Supply, Inc. (“Defendant ACBS”) are entities in New Jersey operating a warehouse and 5

retail locations. These 2 entities operate with the same management, with the use of
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interchangeable names, and with the same resources, finances and staffing. They are a single
enterprise and are properly considered the single, joint and/or integrated employer of Plaintiff.
These businesses are hereinafter collectively referred to as “Defendant Entities.”

8. Adam Prussel (hereinafter referred to as "Defendant Prussel") is the owner,
primary shareholder, and president of Defendant Entities.

9. Gene Masco (hereinafter referred to as “Defendant Masco”) has been and remains
a high-level executive manager of Defendant Entities, oversees operations, oversees human
resources, and day-to-day operations of Defendant Entities.

10. At all times relevant herein, Defendants acted by and through their agents,
servants and employees, each of whom acted at all times relevant herein in the course and scope
of their employment with and for Defendants.

IV. FACTUAL BACKGROUND

11. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

12. Plaintiff was employed with Defendants for in excess of 7 years, and he was
considered a warehouseman. Plaintiff is a Caucasian male (relevant to one of the reasons for
Plaintiff's termination from employment).

13. Defendants’ physical enterprise generally consists of a larger-scale warehouse and
5 separate retail locations. They are as follows:

(a) The retail locations of Defendants are: (1) Brigantine Beauty Supply & Salon
in Brigantine, New Jersey; (2) Cherry Hill Beauty Supply & Salon in Cherry
Hill, New Jersey; (3) Somers Point Beauty Supply & Salon in Somers Point,
New Jersey; (4) Tilton Beauty Supply Salon & Spa in Northfield, New Jersey;

and (5) Ventnor Beauty Supply & Salon in Ventnor, New Jersey.

(b) A warehouse operated by Defendants is located at 400 West Decatur Avenue,
Pleasantville, NJ 08232.
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14. —‘ Plaintiff physically worked within Defendants’ warehouse in Pleasantville, New
Jersey. And Defendants’ operation(s) was not limited exclusively to supplying locations
throughout New Jersey, as Defendants also ship, distribute and sell products to smaller and larger —
stores all over the United States.

15. At all times during the course and scope of Plaintiff's employment with and for
Defendants, he was never paid for overtime compensation despite regularly working at least 10-
20 hours of overtime per week (in a 50 to 60-hour minimum workweek). Instead, Plaintiff was
paid $550.00 per workweek regardless of how many overtime hours he worked.

16. Plaintiff could not possibly meet any exemption from overtime compensation, as
Plaintiffs job consisted of him performing labor-related duties all day, every day. In particular:

(a) Plaintiff physically worked in a warehouse;

(b) Plaintiff did not perform white-collar duties in a desk space, did not utilize e-
mail, and did not have any sort of business cards (just by examples of how
non-white collar his employment was in his tenure);

(c) Plaintiff's typical workday consisted of him: (1) navigating around the
warehouse with carts to manually select products from areas of the warehouse
to manually package in boxes or for shipment; (2) physically loading and
unloading boxes and skids of merchandise; (3) physically loading and
unloading merchandise from vans or other drop offs / deliveries; and (4)
stacking by hand up to 15 skids / pallets per day followed by him manually
shrink-wrapping them;

(d) Plaintiff did not perform executive duties (under the “Executive Exemption”
of state or federal law), he did not hire or terminate employees, he did not
interview or give performance evaluations, and he had no control over raises

for staff members; and

(e) Plaintiff's primary duties in the workplace consisted of him performing
manual laborer as a warehouse worker.
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17, It cannot possibly be disputed that: (a) Plaintiff was non-exempt from overtime;
and (b) that Plaintiff was never paid for overtime compensation while he was employed for
Defendants.

18. For all hours worked in excess of 40 hours per week, Plaintiff should have been
paid at a rate of $20.63 per hour ($550 divided by 40 hours multiplied by 1.5). Plaintiff is owed
at least $300.00 - $400.00 per week for every week he worked for Defendants in unpaid overtime
compensation for a 3-year-lookback as permitted under state and/or federal law(s). In a 3-year-
lookback, Plaintiff is therefore owed well in excess of $50,000.00 in unpaid overtime
compensation.

19.  Liquidated damages should “automatically” be awarded doubling Plaintiffs
unpaid overtime compensation as Defendants could never establish the subject and objective
criteria to show they attempted in good faith to comply with state and/or federal laws concerning
overtime compensation (and such liquidated damages are often referred to as “automatic”

damages).!

 

' See e.g. Solis v. Min Fang Yang, 345 Fed. Appx. 35 (6th Cir. 2009)(A ffirming award of liquidated damages explaining "under the Act,
liquidated damages are compensation, not a penalty or punishment, and no special showing is necessary for the awarding of such damages.
Rather, they are considered the norm and have even been referred to by this court as mandatory."); Gayle v. Harry's Nurses Registry, Inc.,
594 Fed. Appx. 714, 718 @d Cir. 2014)(Affirming award of liquidated damages explaining there is an automatic "presumption" of
liquidated damages and "double damages are the norm, single damages the exception," as the burden to avoid liquidated damages is a
"difficult burden."); Haro v. City of Los Angeles, 745 F.3d 1249 (9th Cir. 2014)(A ffirming award of liquidated damages explaining they are
the "norm" and "mandatory" unless the employer can establish the very “difficult burden” of subjective and objective attempts at FLSA
compliance); Chao v. Barbeque Ventures, LLC, 547 F.3d 938, 942 (8th Cir. 2008)(A ffirming award of liquidated damages explaining that
the employer mistakenly argues its non-compliance was not willful, misunderstanding the high burden to show affirmative steps of
attempted compliance and research of the FLSA and separately that its diligence and belief in non-payment of overtime was also
objectively reasonable.); Chao v. Hotel Oasis, Inc. 493 F.3d 26 (1st Cir. 2007)(A firming award of liquidated damages explaining that they
will always be considered the "norm" in FLSA cases); Lockwood v. Prince George's County, 2000 U.S. App. LEXIS 15302 (4th Cir.
2000)(Affirming award of liquidated damages explaining they are the "norm" and that an employer may not take an ostrich-like approach
and refuse to research its obligations under the FLSA and to objectively explain why it failed to comply with the FLSA); Uphoffv. Elegant
Bath, Ltd., 176 F.3d 399 (7th Cir. 1999)(Reversing the district court for not awarding liquidated damages, as doubling unpaid overtime is
the rule, not an exception), Nero v. Industrial Molding Corp., 167 F.3d 921 (5th Cir. 1999)(A ffirming award of liquidated damages, as there
is a presumption of entitlement to liquidated damages which are the norm).
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20. Defendants ran such a sweatshop requiring Plaintiff to work tremendous overtime
and every weekend that they also refused to even give Plaintiff his actual paychecks to deposit
himself when he asked for breaks so he can deposit same for income during his workday.
Instead, Defendants told Plaintiff they were too busy, didn’t want him taken any breaks, and
Defendants’ own management deposited Plaintiff's checks and gave him envelopes of cash to
allow him to keep performing manual labor (without any extra break(s)).

21. Separate and apart from non-payment of overtime (and being owed in excess of
$100,000.00 in unpaid overtime if liquidated damages are included), Plaintiff was also
unlawfully terminated from his employment. There were multiple reasons Plaintiff was
unlawfully terminated as follows:

(1) Overtime Complaints: Towards the end of his employment, Plaintiff
expressed on numerous occasions that he believed he should of have been
receiving overtime compensation to Defendants’ management. Plaintiff was
terminated shortly after his continued complaints and concerns of unpaid
overtime compensation.

(2) Objections to Disability Discrimination: Defendant Prussel repeatedly, on a

weekly basis, made disability-related statements towards an employee named
Charles Stifel. Stifel, who has several health problems, including related to
knee(s), endured tremendous discrimination by Defendant Prussel. Prussel
-referred to him as “Jerry’s kid,” “cripple,” “retard,” and other negative and .
highly offensive discriminatory comments. Defendant Prussel also
admonished Plaintiff for attempting to assist Stifel with a medical
accommodation of lifting or carrying. Plaintiff specifically told Defendant
Prussel how he spoke and acted was discrimination and contrary to disability
discrimination laws. Plaintiff was terminated shortly after his concerns of
opposing discrimination on behalf of Stifel.

(3) Objections to Racial / National Origin Discrimination: Defendants’
management ran Defendants in a very unscrupulous manner. In doing so, they
had no qualm with disregarding immigration status or whether the employee
was authorized to work in the United States. By way of example, a Hispanic
employee named “Gill” performed the same type of work as Plaintiff. Upon
information and belief, he was known to be an illegal alien, a felon, someone
who was deported and returned illegally, but was kept on payroll of
Defendants. Plaintiff complained to Defendants’ management that: (a) illegal
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(Hispanic) staff was treated better and more fairly than him; and (b) it was
improper and illegal to have such employees working for Defendants.

22. Because Plaintiff engaged in protected activities by making the foregoing
complaints leading up to his termination, Plaintiff was abruptly separated from Defendants.
Plaintiff was told he was being “laid off” for lack of work despite that: (a) there was no lack of
work; (b) Defendants retained less senior similarly situated employees, less qualified employees,
and employees not authorized to even work in the United States; and (c) upon formation and
belief even continued to hire for more work within Defendants. Plaintiff's termination was a
complete pretext.

Count I
Violations of the Fair Labor Standards Act ("FLSA")
(Wrongful Discharge)
- Against All Defendants -

23. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

24. ‘Plaintiff was terminated from Defendants for expressing concerns of unpaid
overtime compensation.

25. Defendants Prussel and Masco are personally liable because they orchestrated the
retaliatory termination of Plaintiff because of his protected activities. These same individual
defendants perpetuated and/or knowingly allowed an unlawful overtime compensation to exist.

26. Plaintiff's discharge from Defendants for engaging in protected activity under the
FLSA constitutes unlawful retaliation under the FLSA. See supra; see also Lambert v. Ackerley,
180 F.3d 997, 1003-05 (9th Cir.1999)(en banc); Valerio v. Putnam Assocs. Inc., 173 F.3d 35, 44-

45 (1st Cir.1999); EEOC v. Romeo Comty. Sch., 976 F.2d 985, 989-90 (6th Cir.1992); EEOC vy.

White & Son Enters., 881 F.2d 1006, 1011 (11th Cir.1989); Brock v. Richardson, 812 F.2d 121,
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123-25 (3d Cir.1987); Love v. RE/MAX of Am., Inc., 738 F.2d 383, 387 (10th Cir.1984); Brennan
v. Maxey's Yamaha, Inc., 513 F.2d 179, 181 (8th Cir.1975).
Count II
Violations of the Fair Labor Standards Act ("FLSA")
(Failure to Pay Overtime Compensation
- Against All Defendants -
27. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
28. Defendants did not pay Plaintiff at a rate of time and one half for hours he worked
beyond 40 hours per week.
29. Liquidated damages should “automatically” be awarded doubling Plaintiff's
unpaid overtime compensation. |
30. Plaintiff therefore seeks all remedies permitted under the FMLA for unpaid
overtime compensation, as well as penalties and interest.
Count III

Violations of the New Jersey Wage & Hour Law (“NJ WHL”)
(Failure to Pay Overtime Compensation)

 

- Against All Defendants -
31. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
32. Defendants’ failure to pay overtime in the aforesaid manner(s) also constitutes a
violation of the NJ WHL.
Count IV
Violations of the New Jersey Law Against Discrimination (“NJ LAD”)
(Discrimination & Retaliation)
- Against All Defendants -
33. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
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34. ‘Plaintiff was terminated in retaliation for his opposition to disability
discrimination to Defendants’ management about and concerning Charles Stifel and also because
he opposed discrimination in favor of Hispanic (and illegal) staff.

35. Plaintiff was subsequently replaced with Hispanic staff, and his termination for
the aforesaid reasons constitutes unlawful discrimination and retaliation.

Count V
Violations of the Conscientious Employee Protection Act (“CEPA”)
(Discrimination & Retaliation)
- Against AJl Defendants -

36. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

37. Plaintiff was terminated for making good-faith complaints of illegality concerning
unpaid overtime in violation of state and federal laws, discrimination, and use of illegal
(unauthorized) work staff.

38. These complaints made by Plaintiff in close temporal proximity to his termination
from employment constitute protected activities under CEPA. And his termination for same
constitutes violations of CEPA.

Count VI
Violations of 42 U.S.C. § 1981
(Discrimination & Retaliation)

- Against All Defendants -

39. The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

40. Plaintiff's termination based upon him not being Hispanic and because of his

objections to discrimination based upon race also constitute violations of 42 U.S.C. § 1981.

 
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WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to promulgate and adhere to a policy prohibiting overtime
violations, discrimination and retaliation;

B. Defendants are to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ wrongful actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, benefits, training, promotions, reinstatement, and seniority.

C. Plaintiff is to be awarded actual damages, as well as damages for the pain,
suffering, and humiliation caused by Defendants’ actions;

D. Plaintiff is to be awarded liquidated or punitive damages as permitted by
applicable law in an amount believed by the Court or trier of fact to be appropriate to punish
Defendants for their willful, deliberate, malicious, and outrageous conduct and to deter
Defendants or other employers from engaging in such misconduct in the future;

E. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate;

F, Plaintiff is to be awarded the costs and expenses of this action and a reasonable
attorney’s fees if permitted by applicable law; and

G, Plaintiff is permitted to have a trial by jury.

Respectfully submitted,

KARPF, KARPF & CERUTTI, P.C.

    
 

 

   

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Dated: November 5, 2018

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